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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA




   PATRICK GAYLE, et al.                                                 Case No. 20cv21553

   Petitioners,

   v.

   MICHAEL W. MEADE,
   Field Office Director, Miami Field Office, U.S.
   Immigration and Customs Enforcement et al.,

   Respondents.

   ______________________________________________

                       DECLARATION OF ACTING OFFICER IN CHARGE
                                  LIANA J. CASTANO

   I, Liana J. Castano, Acting Officer in Charge (OIC), make the following statements under oath and
   subject to the penalty of perjury:

          1. I am employed by U.S. Department of Homeland Security (DHS), Immigration and
             Customs Enforcement (ICE), and currently serve as the Acting OIC of the Krome
             Service Processing Center (Krome). I am also an Assistant Field Office Director
             (AFOD) at Krome. I have held this position since September 2, 2018.

          2. I provide this declaration based on my personal knowledge, belief, reasonable inquiry,
             and information obtained from various records, systems, databases, other DHS
             employees, employees of DHS contract facilities, and information portals maintained
             and relied upon by DHS in the regular course of business. This declaration responds to
             item 2(i) of the court’s order of June 5, 2020 and is applicable to Krome, Broward
             Transitional Center (BTC), and Glades County Detention Center (Glades).

          3. Between June 19, 2020 and June 26, 2020 at 11:00 a.m., ICE released, transferred or
             removed a total of 276 detainees. Those detainees were released, transferred or
             removed from the following facilities: 185 detainees from Krome, 32 detainees from
             Glades and 59 detainees from BTC.




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         4. The nature of the 185 cases from Krome are as follows:

                a.   5 detainees were released on bond.
                b.   99 detainees were removed from the United States.
                c.   1 detainee was released after the immigration judge terminated proceedings.
                d.   5 detainees were turned over to another law enforcement agency.
                e.   11 detainees departed the United States voluntarily
                f.   3 detainees were releases on an order of supervision subsequent to a
                     procedural ERO custody review.
                g.   4 detainees were transferred to be staged for a scheduled removal flight.
                h.   45 detainees were transferred to Glades County Detention Center after a
                     custody re-evaluation.
                i.   10 detainees were transferred to Baker County Detention Center after a
                     custody re-evaluation.
                j.   1 detainee was transferred to another field office after a custody re-evaluation.
                k.   1 detainee was transported to a local hospital for medical evaluation and
                     treatment.

         5. The nature of the 32 cases from Glades are as follows:

                a. 5 detainees were released on bond.
                b. 5 detainees were releases on an order of supervision subsequent to a
                   procedural ERO custody review.
                c. 3 detainees were released from ERO custody after an immigration judge
                   terminated proceedings.
                d. 19 detainees were transferred from Glades to Krome based upon risk
                   classification and bed space needs after a custody re-evaluation.

         6. The nature of the 59 cases from BTC are as follows:

                a. 2 detainees were released on bond.
                b. 1 detainee was released on an order of supervision subsequent to a procedural
                   ERO custody review.
                c. 42 detainees were removed from the United States.
                d. 1 detainee was released after the immigration judge terminated proceedings.
                e. 2 detainees departed the United States voluntarily.
                f. 2 detainees were transferred to another field office to be staged for a
                   scheduled removal flight.
                g. 7 detainees were transferred from BTC to Krome based upon risk
                   classification and bed space needs after a custody re-evaluation.
                h. 2 detainees were turned over to another law enforcement agency.




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                                        Digitally signed by LIANA J
                                        CASTANO
                                        Date: 2020.06.26 15:32:27 -04'00'
   DATED: June 26, 2020,   _____________________________________
                           Liana J. Castano
                           Assistant Field Office Director
                           Enforcement and Removal Operations
                           U.S. Immigration and Customs Enforcement




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